                                                               Case Number:19-003294-CI

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                           IN   THE CIRCUIT COURT FOR THE SIXTH JUDICIAL CIRCUIT
                                     IN AND FOR PINELLAS COUNTY, FLORIDA
                                                                 CIVIL DIVISION

           BRITTANY WILLIAMS,

                    Plaintiff,
                                                                                   CASE NO.:
           v.


           DIGITAL MEDIA SOLUTIONS, LLC,

                    Defendant.
                                                                      /



                                        COMPLAINT AND DEMAND FOR JURY TRIAL

                    Plaintiff,    BRITTANY WILLIAMS                       (“Plaintiff’),   by and through undersigned counsel,

           brings this action against Defendant,                DIGITAL MEDIA SOLUTIONS, LLC                      (“Defendant”), and


           in support     of her claims          states as follows:


                                                          JURISDICTION AND VENUE

                     1.         This   is   an action for damages in excess of $15,000, exclusive of interest,               fees,   and

           costs,   and for declaratory            relief, for Violations    of   Title   VII of the Civil Rights Act of 1964, as


           amended        (“Title V11”),         42 U.s.C. § 2000e    ez seq.,    42 U.s.C. § 12101       ez   seq, 42 U.s.C. § 1981

            (“Section 1981”), and the Florida Civil Rights Act of 1992, as                         amended (“FCRA”),       Fla. Stat. §


            760.01 et seq.


                    2.          Venue       is   proper in Pinellas County, because          all   of the events giving   rise to these


           claims occurred in this County.


                                                                      PARTIES

                     3.         Plaintiff is a resident        of Pinellas County, Florida.


                    4.          Defendant         is   a foreign business organized under the laws of Delaware and operates


           a customer acquisition business in Clearwater, Pinellas County, Florida.




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                                       GENERAL ALLEGATIONS
        5.       Plaintiff has satisﬁed all conditions precedent, or they     have been waived.

        6.       Plaintiff has hired the undersigned attorneys      and agreed   to   pay them a   fee.



        7.       Plaintiff requests a jury trial for all issues so triable.


        8.       At   all   times material hereto, Plaintiff was an employee of Defendant Within the


meaning of Title   VII.


        9.       At   all   times material hereto, Defendant employed ﬁfteen (15) or more employees.


Thus, Defendant    is   an “employer” within the meaning of Title VII.

        10.      At   all   times material hereto, Defendant employed ﬁfteen (15) or more employees.


Thus, Defendant    is   an “employer” Within the meaning of the      FCRA,    Fla. Stat. Section 760.02(7).


        11.      Plaintiff is   an employee Whose rights to contract for employment, and enjoy the

beneﬁts of employment, are protected under Section 198 1.


        12.      Under Section 198 1 Defendant is an employer prohibited from interfering With any
                                         ,




employee’s contractual right to enjoy the same beneﬁts, privileges, terms, and conditions of


employment     that all other   employees of Defendant otherwise enjoy, regardless of the employee’s

race and/or color.


        13.      At all times material hereto, Defendant acted With malice and reckless disregard         for


Plaintiff’ s protected rights




        14.      Plaintiff began
                                 under Section 198 1.




                                    working   for
                                                     w
                                                    Defendant as an Education Representative on or about

March 201 8.

        15.      Plaintiff is   an African American woman.
          16.    Thus, Plaintiff   is   a   member of a   protected class, and on account of her protected


status, Plaintiff beneﬁts    from the protections of Title VII.

          17.    During her tenure with Defendant, Plaintiff          satisfactorily     performed the duties of

her position in a competent manner.


          18.    Nevertheless, Defendant subjected Plaintiff to unlawful discrimination because her


race and gender and retaliated against her because of her complaints of discrimination.


          19.    During her employment, Defendant discriminated against Plaintiff because of her

race and national origin and denied Plaintiff the           same terms and conditions of employment             that


were afforded    to individuals   employed by Defendant Who were not African American.

          20.    Plaintiff   was offered a       position With Defendant   on or about March 2018. Prior          to


starting her position,   Defendant required Plaintiff to attend two        (2)   weeks of training.

          2 1.   Plaintiff had a personal issue arise      and was required to miss a few hours of training.

          22.    Plaintiff immediately contacted Defendant’s         Human Resources (“HR”) department

about the issue and Defendant’s         HR Representative assured her that       it   was ﬁne   that she could take


the requested time off and that she         would be allowed to complete     it later.




          23.    In fact, Defendant’s        HR    Representative told her that, per Defendant’s         company

policy,   employees Who are unable          to   complete training are allowed to      restart their training   on a

later date.


          24.    Defendant then instructed Plaintiff that she would continue her training on March


29, 201 8.


          25.    Despite the assurances from Defendant’s           HR department,        Defendant’s supervisor


forcibly grabbed Plaintiff” s belongings         and demanded that she leave the premises When he learned

that her training   had been rescheduled.
        26.        Based upon information and belief, Defendant did not treat non-African Americans

in this manner.


        27.        As    a result     of her supervisor’s treatment, Plaintiff conﬁrmed again With

Defendant’s     HR department that her training had been rescheduled.

        28.        However,        Plaintiff   was not   able to begin her training because Defendant’s


supervisor told Plaintiff that she       was    terminated.


        29.        Plaintiffwas dismayed by Defendant’s response and questioned                why she was being

terminated. She mentioned to Defendant’s supervisor that another similarly-situated hispanic


employee was allowed         to   work there even    after that   employee missed training    in a similar fashion


to Plaintiff.


        30.        Defendant’s supervisor, Who, based upon information and belief is also of hispanic


origin, callously told Plaintiff that she          was not    that hispanic   employee, that   Plaintiff,   was not

hispanic,   and   that she   was   terminated.


                                     COUNT I — TITLE VII VIOLATION
                                               (DISCRIMINATION)

        31.        Plaintiff realleges    and readopts the allegations of paragraphs      1    through 30 of this


Complaint, as though fully set forth herein.


        32.        Plaintiff is a   member of a protected      class   under Title VII.


        33.        As   a result of Defendant’s aforementioned conduct, Plaintiff was subjected to


disparate treatment      on the basis of her race.

        34.        Defendant knew or should have known of the disparate treatment suffered by

Plaintiff and failed to intervene or to take        prompt and     effective remedial action in response.


        35.        Defendant’s actions were willful and done With malice.
          36.     Plaintiff was injured      due     to Defendant’s Violations         of Title VII, for which Plaintiff


is   entitled to legal   and injunctive   relief.



           WHEREFORE, Plaintiff demands:

                   (a)      A jury trial on all issues so triable;

                   (b)       That process issue and that            this   Court take jurisdiction over the case;


                   (C)      An injunction restraining continued Violation of Title VII by Defendant;

                   (d)       Compensation      for lost wages, beneﬁts,           and other remuneration;


                   (e)       Reinstatement of Plaintiff to a position comparable to                       Plaintiff” s prior



                            position, or in the alternative, front pay;


                   (f)      Any    other compensatory damages, including emotional distress, allowable


                             at law;



                   (g)       Punitive damages;


                   (h)       Prejudgment     interest    on   all   monetary recovery obtained.


                   (i)      A11 costs and attorney’s fees incurred in prosecuting these claims; and


                   (i)      For such further        relief as this    Court deems just and equitable.

                                 COUNT II — TITLE VII RETALIATION
          37.     Plaintiff realleges     and readopts the allegations of paragraphs                1   through 30 of this


Complaint, as though fully set forth herein.


          38.     Plaintiff is a   member of a protected             class   under Title VII.


          39.     Plaintiff exercised or attempted to exercise her rights                       under Title VII, thereby


engaging in protected activity under Title VII.
          40.      Defendant retaliated against Plaintiff for engaging in protected activity under the

Title   VII by subjecting Plaintiff to different terms and conditions of employment and terminating

Plaintiff” s    employment.

          41.      Defendant’s actions were willful and done With malice.


          42.      Defendant took material adverse action against                   Plaintiff.



          43.      Plaintiff was injured       due    to Defendant’s Violations         of Title VII, for which Plaintiff


is   entitled to legal   and injunctive     relief.



           WHEREFORE, Plaintiff demands:

                   (a)      A jury trial on all issues so triable;

                   (b)       That process issue and that             this   Court take jurisdiction over the case;


                   (C)       That   this    Court enter a declaratory judgment, stating that Defendant


                            retaliated against Plaintiff for exercising her rights                under   Title VII;


                   (d)       That   this   Court enter an injunction restraining continued Violation of Title


                            VII by Defendant;


                   (e)       Compensation        for lost wages, beneﬁts,           and other remuneration;


                   (f)       Reinstatement of Plaintiff to a position comparable to                        Plaintiff” s prior



                            position, With      back pay plus         interest,   pension   rights, seniority rights,   and   all



                             fringe beneﬁts;


                   (g)      Front pay;


                   (h)      Any     other compensatory damages, including emotional distress, allowable


                             at law;



                   (i)       Punitive damages;


                   (i)       Prejudgment       interest   on   all   monetary recovery obtained.
                 (k)     A11 costs and attorney’s fees incurred in prosecuting these claims; and


                 (1)     For such further   relief as this       Court deems just and equitable.


                                    COUNT III — FCRA VIOLATION
                                          (DISCRIMINATION)

        44.      Plaintiff realleges   and readopts the allegations of paragraphs              1   through 30 of this


Complaint, as though fully set forth herein.


        45.      Plaintiff is a   member of a protected         class   under the   FCRA.

        46.      Plaintiff was subjected to disparate treatment             on account of her race as a       result   of

Defendant’s aforementioned conduct.


        47.      Defendant’s actions were willful and done With malice.


        48.      Plaintiff was injured   due   to Defendant’s Violations            of the   FCRA,   for   Which she   is



entitled to relief.


         WHEREFORE, Plaintiff demands:

                 (a)     A jury trial on all issues so triable;

                 (b)     That process issue and      this      Court take jurisdiction over the case;


                 (c)     Compensation      for lost wages, beneﬁts,          and other remuneration;


                 (d)     Reinstatement of Plaintiff to a position comparable to her prior position, or


                         in the alternative, front pay;


                 (e)     Any other compensatory damages,                 including emotional distress, allowable


                         at law;



                 (f)     Punitive damages;


                 (g)     Prejudgment     interest   on   all   monetary recovery obtained.


                 (h)     A11 costs and attorney’s fees incurred in prosecuting these claims; and


                 (i)     For such further   relief as this       Court deems just and equitable.
                                     COUNT IV — FCRA RETALIATION
          49.      Plaintiff realleges      and readopts the allegations of paragraphs                 1   through 30 of this


Complaint, as though fully set forth herein.


          50.      Plaintiff is a   member of a protected          class   under the   FCRA.

          51.      Plaintiff   engaged in protected        activity      under the     FCRA        by frequently opposing

Defendant’s aforementioned discriminatory actions against                     Plaintiff.



          52.      Defendant retaliated against Plaintiff for engaging in protected activity under the

FCRA      by subjecting     Plaintiff to different terms      and conditions of employment and terminating

Plaintiff” s    employment.

          53.      Defendant’s actions were willful and done With malice.


          54.      Defendant took material adverse action against Plaintiff as Defendant subjected

Plaintiff to different terms     and conditions of employment and terminated                       Plaintiff’ s   employment.

          55.      Plaintiffwas injured due to Defendant’s Violations ofthe                   FCRA,        for   which Plaintiff

is   entitled to legal   and injunctive     relief.



           WHEREFORE, Plaintiff demands:

                   (a)      A jury trial on all issues so triable;

                   (b)       That process issue and that          this   Court take jurisdiction over the case;


                   (c)       That   this   Court enter a declaratory judgment, stating that Defendant


                             interfered with Plaintiff” s rights under the         FCRA;

                   (d)       Compensation        for lost wages, beneﬁts,       and other remuneration;


                   (e)       Reinstatement of Plaintiff to a position comparable to her prior position                      7




                            With back pay plus        interest,   pension    rights,   and   all   beneﬁts;


                   (f)      Front pay;
                      (g)       Any other compensatory damages,                including emotional distress, allowable


                                at law;



                      (h)       Punitive damages;


                      (i)       Prejudgment     interest   on   all   monetary recovery obtained.


                      (j)       A11 costs and attorney’s fees incurred in prosecuting these claims; and


                      (k)       For such further   relief as this      Court deems just and equitable.


                                   COUNT V —42 U.S.C. 8 1981 VIOLATION
                                             (RACE DISCRIMINATION)

               56.    Plaintiff realleges     and readopts the allegations of Paragraphs           1   through 30 of this


Complaint, as though fully set forth herein.


               57.    Plaintiff is a   member of a protected          class   of persons under Section 198 1.

               58.    As a result of its aforementioned conduct, Defendant subjected Plaintiffto disparate

treatment solely because of Plaintiff’ s race.


               59.    The foregoing        actions constitute unlawful discrimination, in Violation of Section


1   98 1   .




               60.    Defendant’s actions were willful and done With malice.


               6 1.   As    a direct and proximate result of Defendant’s willful and reckless discrimination


against Plaintiff, Plaintiff has suffered and Will continue to experience pain and suffering, mental


anguish, emotional distress, and loss of earnings and other                            employment beneﬁts and job

opportunities.


               62.    Plaintiff   was     injured due to Defendant’s Violations of Section 1981, for               Which

Plaintiff is entitled to legal         and injunctive   relief.



               WHEREFORE, Plaintiff demands:

                      (a)       A jury trial on all issues so triable;
                (b)     That process issue and that           this   Court take jurisdiction over the case;


                (c)     Judgment against Defendant, permanently enjoining Defendant from                           ﬁ1t11re



                        Violations    of Section        1981,        and remedying       all   lost    income,   raises,


                        promotions, and other beneﬁts of Which Plaintiff was unlawfully deprived;


                (d)     Compensatory damages, including emotional                    distress,   allowable at law;


                (e)     Punitive damages;


                (f)     Reinstatement of Plaintiff to a position comparable to her prior position, or


                        in the alternative, front pay;


                (g)     Prejudgment     interest   on   all   monetary recovery obtained;


                (h)     A11 costs and attorney’s fees incurred in prosecuting these claims; and


                (i)     For such further   relief as this       Court deems just and equitable.


                          COUNT VI — 42 U.S.C. s                 1981    VIOLATION
                                           (RETALIATION)

       63.      Plaintiff realleges   and readopts the allegations of Paragraphs                 1   through 30 of this


Complaint, as though fully set forth herein.


       64.      Plaintiff is a   member of a protected         class   of persons under Section 198 1.

       65.      Plaintiff frequently   engaged     in protected activity         under Section 1981 by opposing

Defendant’s discriminatory conduct.


       66.      Defendant retaliated against Plaintiff for engaging in protected activity under


Section 1981   When Defendant subjected Plaintiff to            different terms     and conditions of employment

and terminated her employment.

       67.      Defendant’s actions were willful and done With malice.


       68.      Defendant’s retaliation was based solely on              Plaintiff’ s exercise   of her right to   resist


and oppose unlawful discrimination and harassment, Which                  is   protected under Section 198 1.




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        69.      As     a direct and proximate result of Defendant’s willful and reckless discrimination


against Plaintiff, Plaintiff has suffered and Will continue to experience pain and suffering, mental


anguish, emotional distress, and loss of earnings and other                        employment beneﬁts and job

opportunities.


        70.      Plaintiff   was   injured due to Defendant’s Violations of Section 1981, for                   Which

Plaintiff is entitled to legal   and injunctive   relief.



        WHEREFORE, Plaintiff demands:

                  (a)       A jury trial on all issues so triable;

                  (b)       That process issue and that         this   Court take jurisdiction over the case;


                  (C)       Judgment against Defendant, permanently enjoining Defendant from                    future


                            Violations   of Section       1981,        and remedying     all   lost   income,   raises,


                            promotions, and other beneﬁts of Which Plaintiff was unlawfully deprived;


                  (d)       Compensatory damages, including emotional                distress,   allowable at law;


                  (e)       Punitive damages;


                  (f)       Reinstatement of Plaintiff to a position comparable to her prior position, or


                            in the alternative, front pay;


                  (g)       Prejudgment   interest   on   all   monetary recovery obtained;


                  (h)       A11 costs and attorney’s fees incurred in prosecuting these claims; and


                            For such further   relief as this     Court deems just and equitable.


                                          JURY TRIAL DEMAND

        Plaintiff demands trial     by jury   as to all issues so triable.


        Dated    this 10th   day of May, 2019.

                                                     Respectfully submitted          7




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/s/   Patrick Elliott
PATRICK K. ELLIOTT
Iﬂoﬁda.BaI}hnnber:1000970
THE LAW OFFICE OF PATRICK K. ELLIOTT, PLLC
100 S. Ashley Drive, Suite 600
'Tmmpa,FIJ33602
Direct Dial: (813) 379-3090
Facshnﬂe:       (813)261-3542
Email: elliottp@employmentandconsumerlaw.com
Email: murrayd@employmentandconsumerlaw.com
Aﬂqug$rRMMﬁﬂ




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